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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


IN RE: SOCIAL MEDIA ADOLESCENT                          MDL No. 3047
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                    Case Nos.: 4:22-md-03047-YGR-PHK

                                                                   4:23-cv-05448-YGR

This Filing Relates to:                                            4:23-cv-05885-YGR

People of the State of California, et al. v. Meta                  4:24-cv-00805-YGR
Platforms, Inc., et al.
                                                        JOINT SUPPLEMENTAL LETTER
State of Florida, et al. v. Meta Platforms, Inc.        BRIEF RE: STATE AGENCY
                                                        DISCOVERY
State of Montana, ex. rel. Austin Knudsen v. Meta
Platforms, Inc.                                         Judge: Hon. Yvonne Gonzalez Rogers
                                                        Magistrate Judge: Hon. Peter H. Kang




Dear Judge Kang:

        Pursuant to Discovery Management Order No. 4, the State Attorneys General and Meta
Defendants submit the attached supplemental briefs regarding discovery of the agencies identified
in the State Attorney General Plaintiffs’ and Meta Defendants’ Joint Submission Regarding State
Agencies Pursuant to Discovery Management Order No. 3. The following exhibits are attached
hereto:

   ● Exhibit 1: “State Attorney General Plaintiffs’ and Meta Defendants’ Joint Submission
     Regarding State Agencies Pursuant to Discovery Management Order No. 3,” which the
     parties submitted to chambers on March 12, 2024;
   ● Exhibit 2: Supplemental brief pertaining to Arizona;
   ● Exhibit 3: Supplemental brief pertaining to California;
   ● Exhibit 4: Supplemental brief pertaining to Colorado;

   ● Exhibit 5: Supplemental brief pertaining to Connecticut;
   ● Exhibit 6: Supplemental brief pertaining to Delaware;
   ● Exhibit 7: Supplemental brief pertaining to Florida;
   ● Exhibit 8: Supplemental brief pertaining to Georgia;
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● Exhibit 9: Supplemental brief pertaining to Hawai‘i;
● Exhibit 10: Supplemental brief pertaining to Idaho;
● Exhibit 11: Supplemental brief pertaining to Illinois;
● Exhibit 12: Supplemental brief pertaining to Indiana;

● Exhibit 13: Supplemental brief pertaining to Kansas;
● Exhibit 14: Supplemental brief pertaining to Kentucky;
● Exhibit 15: Supplemental brief pertaining to Louisiana;
● Exhibit 16: Supplemental brief pertaining to Maine;
● Exhibit 17: Supplemental brief pertaining to Maryland;
● Exhibit 18: Supplemental brief pertaining to Michigan;

● Exhibit 19: Supplemental brief pertaining to Minnesota;
● Exhibit 20: Supplemental brief pertaining to Missouri;
● Exhibit 21: Supplemental brief pertaining to Montana;
● Exhibit 22: Supplemental brief pertaining to Nebraska;
● Exhibit 23: Supplemental brief pertaining to New Jersey;
● Exhibit 24: Supplemental brief pertaining to New York;

● Exhibit 25: Supplemental brief pertaining to North Carolina;
● Exhibit 26: Supplemental brief pertaining to North Dakota;
● Exhibit 27: Supplemental brief pertaining to Ohio;
● Exhibit 28: Supplemental brief pertaining to Oregon;
● Exhibit 29: Supplemental brief pertaining to Pennsylvania;
● Exhibit 30: Supplemental brief pertaining to Rhode Island;

● Exhibit 31: Supplemental brief pertaining to South Carolina;
● Exhibit 32: Supplemental brief pertaining to South Dakota;
● Exhibit 33: Supplemental brief pertaining to Virginia;
● Exhibit 34: Supplemental brief pertaining to Washington;
● Exhibit 35: Supplemental brief pertaining to West Virginia;


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   ● Exhibit 36: Supplemental brief pertaining to Wisconsin; and
   ● Exhibits 37-43: Authorities referenced in Exhibits 2-36 that are not available in electronic
     databases.
          ○ Exhibit 37: State of Ohio v. Monsanto Co. et al., Hamilton C.P. No. A1801237
            (Ohio Ct. Common Pleas Dec. 2, 2020).
          ○ Exhibit 38: State of South Carolina ex rel. Wilson v. Purdue Pharma L.P., et. al,
            No. 2017-CP-40-04872 (S.C. Ct. Com. Pleas Jul. 5, 2019) (slip op.)
          ○ Exhibit 39: State of Washington v. Johnson & Johnson, No. 16-2-12186-1 (Wash.
            Super. Ct. Mar. 10, 2017) (slip op.)
          ○ Exhibit 40: State of Washington v. TVI, Inc., No. 17-2-32886-3-SEA (Wash. Super.
            Ct. Mar. 7, 2019) (slip op.)
          ○ Exhibit 41: Notice of Subpoena, United States, et al., v. Google LLC, No. 1:23-cv-
            00108 (E.D. Va. April 28, 2023)
          ○ Exhibit 42: Subpoena to Nebraska Department of Transportation, United States, et
            al., v. Google LLC, No. 1:23-cv-00108 (E.D. Va. April 28, 2023)
          ○ Exhibit 43: Subpoena to University of Nebraska at Omaha, United States, et al., v.
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Dated: April 1, 2023                         Respectfully submitted,

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